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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

AMERICANS FOR BENEFICIARY CHOICE,
et al.

       Plaintiff,
                                                     Civil Action No. 4:24-CV-439-O
v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

       Defendants.


COUNCIL FOR MEDICARE CHOICE, et al.

       Plaintiff,
                                                     Civil Action No. 4:24-CV-446-O
v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

       Defendants.


                    DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants hereby move for summary judgment and request that the Court deny all of

Plaintiffs’ claims in these actions. For the reasons given in the accompany brief (which contains

the matters required by the local civil rules) and as substantiated by the administrative record that

was previously filed, the Court should grant summary judgment in favor of Defendants.




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                                                      Respectfully submitted,

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                                                      UNITED STATES ATTORNEY

                                                      /s/ Brian W. Stoltz
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                                                      Attorneys for Defendants

                                       Certificate of Service

       On November 8, 2024, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Brian W. Stoltz
                                                      Brian W. Stoltz
                                                      Assistant United States Attorney




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